                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA,

         Plaintiff,
                                                    Civ. No. 2:23-cv-735
         v.
                                                    Judge Barbier (Section: “J” (5))
 DENKA PERFORMANCE ELASTOMER,
 LLC, and DUPONT SPECIALTY
                                                    Magistrate Judge North
 PRODUCTS USA, LLC,

         Defendants.


    UNITED STATES’ MOTION TO REOPEN CASE AND SET STATUS HEARING

       The United States of America (“United States”) respectfully moves this Court to reopen

this case and set a status hearing on the United States’ renewed request to reset this matter for

trial. See July 17, 2024 Minute Entry Order (ECF No. 179).

       The United States has attempted to confer with the Defendants about this motion.

Counsel for Denka Performance Elastomer, LLC informed the United States that it does not take

a position on this motion and reserves the right to file an opposition. For that reason, the United

States files this as an opposed motion. Counsel for DuPont Specialty Products USA, LLC did

not articulate its position on the motion.

       WHEREFORE, for the reasons set forth in its supporting memorandum, the United

States respectfully requests that the Court grant this motion, reopen this case, and set this matter

for a status hearing at the Court’s earliest convenience for the purpose of establishing a pretrial

schedule and trial date.
                                         Respectfully submitted,

                                         FOR THE UNITED STATES OF AMERICA

                                         TODD KIM
                                         Assistant Attorney General
                                         Environment and Natural Resources Division
                                         United States Department of Justice


                                                s/ Steven D. Shermer
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                                CERTIFICATE OF SERVICE

        I certify that on September 17, 2024, a true and correct copy of the foregoing motion,
supporting memorandum, notice of submission, and proposed order were filed with the U.S.
District Court for the Eastern District of Louisiana using the Court’s CM/ECF system. Notice of
this Electronic Filing will be sent to all parties by operation of the Court’s Electronic Filing
System.


                                                   s/Steven Shermer
                                                   Steven D. Shermer




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